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                                        UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF VIRGINIA
                                            ALEXANDRIA DIVISION


     UNITED STATES, et al.,
                                                                       No. 1:23-cv-00108-LMB-JFA
                          Plaintiffs,
               v.

     GOOGLE LLC,

                          Defendant.


           NON-PARTY CRITEO CORP.’S OBJECTIONS TO THE PUBLIC USE OF
                          CONFIDENTIAL MATERIALS

           Pursuant to this Court’s order, ECF No. 871, non-party Criteo Corp., by and through its

  undersigned counsel, files its objections to the public use of the following exhibits identified on

  Plaintiffs’ and Defendant’s Trial Exhibit Lists, all of which were designated Highly Confidential

  under the applicable Protective Order, on grounds that the redacted materials constitute trade

  secret (“TS”) and competitively sensitive (“CSI”) information, as further detailed below and in

  Criteo’s Motion to Seal, filed concurrently herewith. Criteo further objects to the public

  disclosure of the materials below to the extent they are not relevant to any claim or defense in

  this litigation (“FRE 401, 402”). In accordance with the Court’s order, Criteo has also prepared

  proposed acceptable redacted versions of these exhibits, filed concurrently herewith. 1




  1
    As noted in the chart below, Criteo produced voluminous, transaction-level trading data in this litigation, which
  date back to as early as 2010 and run through 2023. The parties have included these datasets in their Exhibit Lists as
  PTX1763, PTX1771, and DTX1703. Because of the nature and volume of this information, it is not feasible to
  redact portions of these materials in a manner that would permit public disclosure. Criteo objects to the public use
  of these datasets to the extent either party seeks to introduce any of them in their entirety. To the extent the parties
  intend to use such datasets or portions thereof to compile demonstratives or other exhibits, Criteo reserves its right to
  object such materials.


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      Tr. Ex.     Beg Bates       Document                     Objection
      No.         No. 2           Description
      Pl.s’ Am. Trial Exhibit List, ECF No. 920-2
      PTX1561 0000015509          Criteo              CSI & TS: redacted material includes
                                  presentation re     confidential pricing information, including
                                  “Training DFP for   incremental pricing and target pricing ranges;
                                  CDB”                confidential trading parameters applicable to
                                                      different campaign levels; proprietary code
                                                      drafted by Criteo’s engineers; and
                                                      confidential case study discussing the
                                                      technical specifications and performance of a
                                                      campaign transitioned from real time auction
                                                      to Criteo Direct Bidder.
      PTX1763 0000000761          Criteo transaction- CSI: these data sets include granular,
                                  level trading data  transaction-level trading information over the
                                                      course of years, which could be used by
                                                      Criteo’s competitors to anticipate Criteo’s
                                                      bidding practices and strategy.
      PTX1771 0000015578          Criteo transaction- CSI: these data sets include granular,
                                  level trading data  transaction-level trading information over the
                                                      course of years, which could be used by
                                                      Criteo’s competitors to anticipate Criteo’s
                                                      bidding practices and strategy.
      Def.’s Trial Exhibit List, ECF No. 894
      DTX360       CRI-           December 2016       CSI: redacted material includes confidential
                   00000104       presentation re     return on investment per class of clients and
                                  “Strategic          target margin information; Criteo’s
                                  Guidelines Note” confidential customer impact rate and
                                                      win/loss information; Criteo’s performance
                                                      trends by product line; and representative
                                                      customer lists.
      DTX374       0000015400     January 2017        CSI: redacted material includes detailed
                                  presentation re     information regarding challenges to Criteo’s
                                  “Criteo Direct      business that persist to this day, the strategies
                                  Bidder (BD          Criteo has employed to respond to these
                                  Training v1)”       challenges and their performance/efficacy,
                                                      and a case study examining same.
      DTX679       0000000295     March 2019          CSI: redacted material reflects confidential
                                  presentation        trading specifications and case studies
                                  “Sponsorship        identifying particular client campaign
                                  Priority Training   successes and discussing the client-negotiated
                                  for BD’s”           bidding parameters, technical specifications,

  2
      Unless otherwise indicated, the Bates prefix for each of these documents is “CRITEO_GOOGLELIT_.”

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      Tr. Ex.      Beg Bates          Document                   Objection
      No.          No. 2              Description
                                                         and performance of Criteo Direct Bidder
                                                         campaign and product, including graphs and
                                                         charts demonstrating outcomes of such
                                                         campaign.
      DTX1396      0000011698         November 25,       FRE 401, 402; CSI; TS: the redacted material
                                      2022 responses to in these responses include detailed
                                      the department for information regarding Criteo’s bidding
                                      competition of the practices and strategy, challenges Criteo
                                      European           faces when bidding, and the internal
                                      Commission         procedures and algorithms Criteo has
                                      questionnaire re   developed in an attempt to address such
                                      “Google - Adtech challenges and the efficacy of such
                                      and Data-related   responses. The responses further detail how
                                      practices”         Criteo’s adaptations to its bidding strategy in
                                                         response to such challenges has impacted
                                                         Criteo’s profitability, and remaining issues
                                                         Criteo continues to confront. All of this
                                                         information could be used by Criteo’s
                                                         competitors to predict or co-opt Criteo’s
                                                         bidding strategy, or exploit the challenges
                                                         Criteo faces to its competitive detriment. 3
      DTX1475      0000006967         IPONWEB            CSI: redacted material includes IPONWEB’s
                                      presentation re    confidential revenue information, itemized by
                                      “PDG Update Q1 revenue stream and target revenues by
                                      2023 -             revenue and product stream, as well as future
                                      Tech/Product       strategic initiatives and proposed key
                                      Workshop           performance indicators, time lines, and cost
                                      February 2023”     targets for achieving same.
      DTX1544      0000000693         Presentation re    CSI: redacted material includes BidSwitch’s
                                      “BSW Product       analysis of critical threats to its business and
                                      Proposals_forward outlines key performance indicators, time
                                      planning           lines, and cost targets for achieving future
                                      (April2022)”       strategic initiatives.
      DTX1545      0000000729         Criteo “Margin     CSI: the redacted material includes Criteo’s
                                      Targets            target margins for new and current customers
                                      Discussions from by product. Such information could be used
                                      Q4 2022”           by Criteo’s competitors to anticipate Criteo’s

  3
    Although there are references to “non confidential” replies in this document, that was not intended as an admission
  that the material is not competitively sensitive or a waiver of Criteo’s confidentiality protections. Rather, such
  responses were given for the limited purpose of disclosure to other parties in the proceedings, subject to the
  protections and limitations on such responses’ use, including the protections provided under Article 8 of the Terms
  of Reference. Hearing Officers – Frequently Asked Questions, Question 9. How is the protection of my confidential
  information ensured?, European Commission, https://competition-policy.ec.europa.eu/hearing-officers/faq_en (last
  visited July 25, 2024).

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   Tr. Ex.         Beg Bates    Document              Objection
   No.             No. 2        Description
                                                    bidding practices, and unfairly impact
                                                    Criteo’s negotiations with its customers if
                                                    publicly disclosed.
   DTX1546         0000000754   Presentation re     FRE 401, 402; CSI; TS: the redacted material
                                “Understanding      in this document includes detailed
                                our Non-Second      information regarding Criteo’s bidding
                                Price Bidder”       practices and strategy, including the
                                                    algorithmic formulae and models Criteo has
                                                    developed to implement its bidding strategy.
   DTX1702         0000000286   Presentation re     CSI: redacted material reflects confidential
                                “Sponsorship        trading specifications and case studies
                                Priority”           discussing the client-negotiated bidding
                                                    parameters, technical specifications, and
                                                    performance of Criteo Direct Bidder
                                                    campaign and product.
   DTX1703         0000015579   Criteo transaction- CSI: these data sets include granular,
                                level trading data  transaction-level trading information over the
                                                    course of years, which could be used by
                                                    Criteo’s competitors to anticipate Criteo’s
                                                    bidding practices and strategy.
   DTX1981         NA           Israel Report       CSI: This figure details Criteo’s spending by
                                Table 14: Criteo    dollar amount and percent of spending by
                                U.S. Web Non-       exchange for each exchange through which
                                Video Display Ad Criteo bids, which provides key insights into
                                Spending by         Criteo’s bidding practices that can be used by
                                Exchange, 2022      competitors to Criteo’s disadvantage.

  Dated: July 26, 2024


                                                      /s/ Jonathan R. DeFosse
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